991 F.2d 811
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Eugene P. KING, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7019.
    United States Court of Appeals, Federal Circuit.
    March 22, 1993.
    
      Before ARCHER, Circuit Judge, FRIEDMAN, Senior Circuit Judge, and MICHEL, Circuit Judge.
      ON MOTION
      MICHEL, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive the requirements of Fed.Cir.R. 27(d) and to dismiss Eugene P. King's appeal for lack of jurisdiction.   King opposes.
    
    
      2
      The Court of Veterans Appeals dismissed King's appeal because he had not filed a valid notice of disagreement after November 18, 1988.   On appeal to this court, King challenges only factual determinations or the application of a law or regulation to his case.   No issue is raised which falls within the limited jurisdiction of this court under 38 U.S.C.A. §§ 7292(c), (d)(1)-(2) (West 1991).   See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992);   Johnson v. Derwinski, 949 F.2d 394 (Fed.Cir.1991).
    
    Accordingly, IT IS ORDERED THAT:
    
      3
      (1) The Secretary's motion to waive the requirements of Fed.Cir.R. 27(d) is granted.
    
    
      4
      (2) The Secretary's motion to dismiss is granted.
    
    